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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


 SHANNON PHILLIPS,

                         Plaintiff,
                                                               CIVIL ACTION
         v.                                                    NO. 19-19432

 STARBUCKS CORPORATION,

                         Defendant.




                                            ORDER

        AND NOW, this 16th day of August 2023, upon consideration of Plaintiff’s Motion to

 Amend Judgment to Include Court-Determined Economic Loss and Attorneys’ Fee Award (Doc.

 No. 164), Defendant’s Memorandum in Opposition to Plaintiff’s Request for Economic Loss

 Damages (Doc. No. 174), Plaintiff’s Memorandum on Economic Loss (Doc. No. 175), and in

 accordance with the Opinion of the Court issued this day, it is ORDERED that Plaintiff’s Motion

 to Amend Judgment to Include Court-Determined Economic Loss and Attorneys’ Fee Award (Doc.

 No. 164) is GRANTED IN PART. It is further ORDERED as follows:

    1. Plaintiff is awarded $1,053,133 in back pay damages.

    2. Plaintiff is awarded $1,617,203 in front pay damages.

    3. Plaintiff is awarded $66,419 in tax gross up damages.
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    4. The Clerk of Court shall amend the Court’s Judgment (Doc. No. 153) to include the award

       of Plaintiff’s back pay, front pay, and tax gross up damages for a total of $2,736,755.



                                                     BY THE COURT:



                                                     /s/ Joel H. Slomsky
                                                     JOEL H. SLOMSKY, J.
